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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :      Case No.: 21-cr-382 (PLF)
          v.                                 :
                                             :
CHRISTOPHER WARNAGIRIS,                      :
                                             :
                                             :
                      Defendant.             :


                                NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court

that Assistant United States Attorney Aliya Khalidi is entering her appearance as co-counsel in

the above-captioned matter.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                             By:    /s/ Aliya Khalidi
                                                    Aliya Khalidi
                                                    Assistant United States Attorney
                                                    MA Bar No. 682400
                                                    601 D Street NW, Washington, DC 20530
                                                    aliya.khalidi@usdoj.gov
                                                    202-252-2410
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                                CERTIFICATE OF SERVICE

       On this 11th day of October 2023, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                                     /s/ Aliya Khalidi
                                                     Aliya Khalidi
                                                     Assistant United States Attorney




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